                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:
_________________________________________
                                          :
GOPRO, INC.                               :
                                          :
                       Plaintiff,         : Court Nos. 20-00085, 20-00095
                                          : and 20-00176, 21-00058
                 v.                       :
                                          :
UNITED STATES,                            :
                                          :
                        Defendant.        :
_________________________________________ :


                                             ORDER

        Upon consideration of plaintiff’s consent motion to designate Court No. 20-00176 as a

 test case pursuant to U.S. Court of International Trade Rule 83(f), and to suspend Case Nos. 20-

 00085, 20-00095 and 21-00058 pursuant to Rule 83(i), it is:

        ORDERED that Court No. 20-00176 is designated a test case, and

        ORDERED that the following cases are suspended under test case 20-00176:


                                CIT                 Plaintiff
                            Number                   Name
                           20-00085                GoPro, Inc.
                           20‐00095                GoPro, Inc.
                           21-00058                GoPro, Inc.


                                                                 SO ORDERED



                                                                    Judge

 New York, New York
 This    day of April 2021
                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:
_________________________________________
                                          :
GOPRO, INC.                               :
                                          :
                       Plaintiff,         : Court Nos. 20-00085, 20-00095
                                          : and 20-00176, 21-00058
                 v.                       :
                                          :
UNITED STATES,                            :
                                          :
                        Defendant.        :
_________________________________________ :


                 CONSENT MOTION TO DESIGNATE A TEST CASE
             AND SUSPEND ADDITIONAL CASES UNDER THE TEST CASE

        Plaintiff, through its undersigned attorney, respectfully files this motion, pursuant to

 U.S. Court of International Trade (“USCIT”) Rules 7 and 83, to designate Court No. 20-00176

 as a test case and to suspend thereunder all of the other pending actions identified at Exhibit 1

 of this motion.

       The proposed test case: CIT GoPro, Inc. Case 20-00176. The proposed test case

 concerns whether imported camera housings, subject to classification as “cases” under heading

 4202, should instead be correctly classified as “camera parts” under heading 8525. The action

 itself pertains to numerous protests and numerous entries of various models of camera housings

 that have been imported since 2014.

        USCIT Rule 83(e) defines a test case as one selected from a group of cases involving

 the “same significant question of law or fact” that “is intended to proceed first to final

 determination and serve as a test of the right to recovery in the other actions.” A motion to

 designate a test case must state the movant’s intention to “actively prosecute [the test case]
once designated” and plaintiff confirms this to be its intent. Second, the movant for test case

status must establish that the cases to be suspended under the test case involve the “same

significant question of law or fact.” Plaintiff attests that the other cases listed for suspension

in Exhibit 1 concern the same question of law that has been described above.

       For the reasons set forth above, and with consent of the government, the plaintiff

respectfully requests that Court No. 20-00176 be designated a test case, and that the actions

identified in Exhibit 1 be suspended under the test case.



                                                   Respectfully submitted,

                                                   JUNKER & NAKACHI, PC
                                                   Attorneys for Plaintiff
                                                   One Market Street, Suite
                                                   3600
                                                   San Francisco, CA 94105
                                                   Tel. (415) 498-0070

                                               By: Matt Nakachi          .

Dated: San Francisco, CA
       April 10, 2021
                   EXHIBIT 1

Schedule of Cases to be Suspended under Test Case

  GoPro, Inc. v. United States, CIT No. 20-00176

          CIT              Plaintiff
      Number                Name
     20-00085             GoPro, Inc.
     20-00095             GoPro, Inc.
     21-00058             GoPro, Inc.
